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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KIRK E. SHERRIFF
     Assistant U.S. Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, California 93721
 4   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 5
     Attorneys for the
 6   United States of America
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,              )   CASE NO.:    1:10-cr-00343 LJO
11                                          )
                      Plaintiff,            )   STIPULATION AND PROTECTIVE
12                                          )   ORDER BETWEEN THE UNITED
                                            )   STATES AND NAMED DEFENDANTS
13              v.                          )
                                            )
14                                          )
     RANDAL ALFRED BURTIS,                  )
15   RONALD JOHN SALADO,                    )
     ROBERT MORRIS ADAMS, and               )
16   JASON M. ESPINOLA,                     )
                                            )
17                    Defendants.           )
                                            )
18
19
20        WHEREAS, the discovery in this case is voluminous and contains a
21   large amount of personal information including but not limited to
22   Social Security numbers, dates of birth, driver’s license numbers,
23   bank account numbers, telephone numbers, and residential addresses
24   (“Protected Information”); and
25        WHEREAS, the parties desire to avoid both the necessity of large
26   scale redactions and the unauthorized disclosure or dissemination of
27   this information to anyone not a party to the court proceedings in
28   this matter;
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 1        The parties agree that entry of a stipulated protective order is
 2   appropriate.
 3        THEREFORE, defendants Randal Alfred Burtis, Ronald John Salado,
 4   Robert Morris Adams, and Jason M. Espinola, by and through their
 5   counsel of record (“Defense Counsel”), and plaintiff the United
 6   States of America, by and through its counsel of record, hereby agree
 7   and stipulate as follows:
 8        1.   This Court may enter protective orders pursuant to Rule
 9   16(d) of the Federal Rules of Criminal Procedure, and its general
10   supervisory authority.
11        2.   This Order pertains to all discovery provided to or made
12   available to Defense Counsel as part of discovery in this case
13   (hereafter, collectively known as “the discovery”).
14        3.   By signing this Stipulation and Protective Order, Defense
15   Counsel agree not to share any documents that contain Protected
16   Information with anyone other than Defense Counsel and designated
17   defense investigators and support staff.        Defense Counsel
18   may permit each defendant to view unredacted documents in the
19   presence of his attorney, defense investigators, and support staff.
20   The parties agree that Defense Counsel, defense investigators, and
21   support staff shall not allow the defendants to copy Protected
22   Information contained in the discovery.        The parties agree that
23   Defense Counsel, defense investigators, and support staff may provide
24   the defendants with copies of documents from which Protected
25   Information has been redacted.
26        4.   The discovery and information therein may be used only in
27   connection with the litigation of this case and for no other purpose.
28   The discovery is now and will forever remain the property of the

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 1   United States Government.        Defense Counsel will return the discovery
 2   to the Government or certify that it has been shredded at the
 3   conclusion of the case.
 4        5.      Defense Counsel will store the discovery in a secure place
 5   and will use reasonable care to ensure that it is not disclosed to
 6   third persons in violation of this agreement.
 7        6.      Defense Counsel shall be responsible for advising his
 8   respective defendant, employees, and other members of the defense
 9   team, and defense witnesses of the contents of this
10   Stipulation and Order.
11        7.      In the event that a defendant substitutes counsel,
12   undersigned Defense Counsel agrees to withhold discovery from new
13   counsel unless and until substituted counsel agrees also to be bound
14   by this Order.
15        IT IS SO STIPULATED.
16
17   DATED:     8/23/10                    By:     s/ Robert L. Forkner
                                                  ROBERT L. FORKNER
18                                                Attorney for Defendant
                                                  RANDAL ALFRED BURTIS
19
20   DATED:     8/20/10                    By: s/ Frank C. Carson
                                               FRANK C. CARSON
21                                             Attorney for Defendant
                                               RONALD JOHN SALADO
22
23   DATED:     8/19/10                    By:     s/ Kirk W. McAllister
                                                  KIRK W. McALLISTER
24                                                Attorney for Defendant
                                                  ROBERT MORRIS ADAMS
25
26   DATED:     8/23/10                    By: s/ Stephen L. Foley
                                               STEPHEN L. FOLEY
27                                             Attorney for Defendant
                                               JASON M. ESPINOLA
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 1
 2   DATED: 8/23/10                                BENJAMIN B. WAGNER
                                                   United States Attorney
 3
 4                                          By:      s/ Kirk E. Sherriff
                                                   KIRK E. SHERRIFF
 5                                                 Assistant U.S. Attorney
 6
 7
 8
 9            IT IS SO FOUND AND ORDERED.
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11
12
13   IT IS SO ORDERED.
14   Dated:     August 24, 2010               /s/ Lawrence J. O'Neill
     b9ed48                               UNITED STATES DISTRICT JUDGE
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